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JAN 8 2014 ©
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION Ded. Bradley, Care

UNITED STATES OF AMERICA §

§ CriminalNo.
v. § Criminal No. .

§ 14-0902
ABRAHAM GOMEZ §

INDICTMENT

THE GRAND JURY CHARGES:

On or about December 15, 2013, in the Southern District of Texas and within the
jurisdiction of the Court, defendant,
ABRAHAM GOMEZ
did knowingly escape from the Mid-Valley Federal Halfway House in Edinburg, Texas, an
institutional facility in which he was lawfully confined at the direction of the Attorney General by
virtue of an arrest, judgement and commitment of the United States District Court for the Southern
District of Texas in case number M-12-633-S1 for the conviction of the felony offense of
. making .
false statements or representations with regards to firearms records, in
6/7/16 A.D.
violation of Title 18, United States Code, Section 924(a)(1)(A) and Title 18 United States Code,
Section 2.

In violation of Title 18, United States Code, Section 751(a).

A TRUE BILL

 

FOREPERSON

KENNETH MAGIDSON
UNITED STATES ATTORNEY

 

ASSISTANT UNITED : STATES ATTORNEY

 
